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                             APPENDIX A: CLRA LEGISLATIVE DRAFTING HISTORY

Draft      Date      Section 1782(b)                                          Section 1784
First       --       --                                                       --

                                                                              (1785) A person may not be held liable in any action
                                                                              based on a method, act or practice declared to be
                                                                              unlawful by Section 1770 if the person shows, by a
Second   4/16/1970   --                                                       preponderance of the evidence, that the violation was
                                                                              not intentional and resulted from a bona fide error
                                                                              notwithstanding the maintenance of procedures
                                                                              reasonably adapted to avoid any such error.


                                                                              (1785) A person may not be held liable in In any
                     (b) Except as provided in subdivision (c), no action     action based on a method, act or practice declared to
                     may be maintained under the provisions of Section        be unlawful by Section 1770 if the person shows, by
                     1780 if an appropriate correction, repair, replacement   a preponderance of the evidence, and not requiring
Third    5/22/1970
                     or other remedy is given or agreed to be given within    intent as an element thereof, the court may consider
                     a reasonable time, to the consumer within 30 days        in mitigation of damages that the violation was not
                     after the receipt of such notice.                        intentional and resulted from a bona fide error
                                                                              notwithstanding the maintenance of procedures
                                                                              reasonably adapted to avoid any such error.

                                                                              (1785) In any action based on a method, act or
                     (b) Except as provided in subdivision (c), no action     practice declared to be unlawful by Section 1770, and
                     for damages may be maintained under the provisions       not requiring intent as an element thereof, the court
Fourth   5/27/1970   of Section 1780 if an appropriate correction, repair,    may shall consider in mitigation of damages that the
                     replacement or other remedy is given or agreed to be     violation was not intentional and resulted from a bona
                     given within a reasonable time, to the consumer          fide error notwithstanding the maintenance of
                     within 30 days after the receipt of such notice.         procedures reasonably adapted to avoid any such
                                                                              error.


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Draft     Date      Section 1782(b)                                         Section 1784

                                                                            (1785) In any action based on a method, act or
                    (b) Except as provided in subdivision (c), no action
                                                                            practice declared to be unlawful by Section 1770, and
                    for damages may be maintained under the provisions
                                                                            not requiring intent as an element thereof, the court
                    of Section 1780 if an appropriate correction, repair,
Fifth   7/10/1970                                                           shall consider in mitigation of damages that the
                    replacement or other remedy is given or agreed to be
                                                                            violation was not intentional and resulted from a bona
                    given within a reasonable time, to the consumer
                                                                            fide error notwithstanding the maintenance of
                    within 30 days after the receipt of such notice.
                                                                            procedures reasonably adapted to avoid any such
                                                                            error.

                                                                            In any action based on a method, act or practice
                                                                            declared to be unlawful by Section 1770, and not
                                                                            requiring intent as an element thereof, the court
                                                                            shall consider in mitigation of damages that the
                                                                            violation was not intentional and resulted from a
                                                                            bona fide error notwithstanding the maintenance
                                                                            of procedures reasonably adapted to avoid any
                                                                            such error.
                    (b) Except as provided in subdivision (c), no action
                    for damages may be maintained under the provisions
                                                                            No award of damages may be given in any action
                    of Section 1780 if an appropriate correction, repair,
Sixth   8/7/1970                                                            based on a method, act, or practice declared to be
                    replacement or other remedy is given or agreed to be
                                                                            unlawful by Section 1770 if the person alleged to
                    given within a reasonable time, to the consumer
                                                                            have employed or committed such method, act, or
                    within 30 days after the receipt of such notice.
                                                                            practice (a) proves by a preponderance of the
                                                                            evidence that such violation was not intentional
                                                                            and resulted from a bona fide error
                                                                            notwithstanding the use of reasonable procedures
                                                                            adopted to avoid any such error and (b) makes an
                                                                            appropriate correction, repair or replacement or
                                                                            other remedy of the goods and services according
                                                                            to the provisions of subdivisions (b) and (c) of
                                                                            Section 1782.

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Draft       Date      Section 1782(b)                                         Section 1784


                                                                              No award of damages may be given in any action
                                                                              based on a method, act, or practice declared to be
                                                                              unlawful by Section 1770 if the person alleged to have
                      (b) Except as provided in subdivision (c), no action    employed or committed such method, act, or practice
                      for damages may be maintained under the provisions      (a) proves by a preponderance of the evidence that
                      of Section 1780 if an appropriate correction, repair,   such violation was not intentional and resulted from a
Seventh   8/20/1970
                      replacement or other remedy is given or agreed to be    bona fide error notwithstanding the use of reasonable
                      given within a reasonable time, to the consumer         procedures adopted to avoid any such error and (b)
                      within 30 days after the receipt of such notice.        makes an appropriate correction, repair or
                                                                              replacement or other remedy of the goods and services
                                                                              according to the provisions of subdivisions (b) and (c)
                                                                              of Section 1782.




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